        Case 2:11-cv-03106-KDE-JCW Document 1 Filed 12/19/11 Page 1 of 5




                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

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WAYNE GILMORE,                                        :
an individual,                                        :
                                                      :       CASE NO.:
                  Plaintiff,                          :
                                                      :
v.                                                    :
                                                      :
BELLE TERRE PLAZA, LLC,                               :
a Domestic Limited Liability Company,                 :
                                                      :
                  Defendant.                          :
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                                                COMPLAINT

        Plaintiff, WAYNE GILMORE, by and through his undersigned counsel, hereby files this

Complaint and sues BELLE TERRE PLAZA, LLC, a Domestic Limited Liability Company, for

declaratory and injunctive relief, attorneys’ fees, and costs pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq., and alleges:

                                    JURISDICTION AND PARTIES

        1.       This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans With Disabilities Act, 42 U.S.C. § 12181 et seq. (hereinafter referred to as the

“ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

        2.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

        3.       Plaintiff, WAYNE GILMORE, (hereinafter referred to as “MR. GILMORE” or

“PLAINTIFF”), is a resident of St. John the Baptist Parish, Louisiana.

        4.       MR. GILMORE is a qualified individual with a disability under the ADA. MR.

GILMORE is paralyzed from the waist down. MR. GILMORE is a paraplegic and uses a



                                                          1
       Case 2:11-cv-03106-KDE-JCW Document 1 Filed 12/19/11 Page 2 of 5




wheelchair as his primary means of mobility.

       5.      Due to his disability, PLAINTIFF is substantially impaired in several major life

activities and requires a wheelchair for mobility.

       6.      Upon information and belief, Defendant BELLE TERRE PLAZA, LLC, a

Domestic Limited Liability Company registered to do business in the State of Louisiana

(hereinafter referred to as “DEFENDANT”), is the owner, lessee, lessor and/or operator of the

real properties and improvements which is the subject of this action, to wit: the “Property,”

known as the Belle Terre Plaza, generally located at 150 Belle Terre Blvd., La Place, Louisiana,

70068. The DEFENDANT is obligated to comply with the ADA.

       7.      All events giving rise to this lawsuit occurred in the Eastern District of Louisiana,

St. John the Baptist Parish, Louisiana. DEFENDANT is responsible for complying with the

obligations of the ADA.

                       COUNT I - VIOLATION OF TITLE III OF THE
                         AMERICANS WITH DISABILITIES ACT

       8.      PLAINTIFF realleges and reavers the proceeding paragraphs as if they were

expressly restated herein.

       9.      The Property, a shopping plaza, is a public accommodation and is subject to the

ADA.

       10.     MR. GILMORE has visited the Property numerous times and plans to visit the

Property again in the near future.

       11.     During his visits, MR. GILMORE experienced serious difficulty accessing the

goods and utilizing the services therein due to the architectural barriers discussed in detail herein.

       12.     MR. GILMORE continues to desire to visit the Property, but continues to

experience serious difficulty due to the barriers discussed herein which still exist.

                                                  2
       Case 2:11-cv-03106-KDE-JCW Document 1 Filed 12/19/11 Page 3 of 5




        13.     MR. GILMORE intends to and will visit the Property to utilize the goods and

services in the future, but fears that he will encounter the same barriers to access which are the

subjects of this action.

        14.     DEFENDANT is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302

et seq. and is discriminating against PLAINTIFF due to, but not limited to, its failure to remedy,

inter alia, the following violations:

                A.         inaccessible parking designated as accessible throughout the Property due

                           to excessive slopes and cross slopes;

                B.         inaccessible parking designated as accessible throughout the Property due

                           to lack of proper signage;

                C.         inaccessible parking designated as accessible throughout the Property due

                           to improper access aisles with excessive long slopes and cross slopes and

                           ramps impacting access aisles;

                D.         inaccessible routes throughout the Property due to curb cuts that fail to

                           provide smooth transitions;

                E.         inaccessible routes to entrances due to excessive slopes and lack of proper

                           handrails;

                F.         inaccessible restaurant service counters due to excessive height;

                G.         inaccessible bathrooms due to lack of handrails in some stalls;

                H.         inaccessible bathrooms due to exposed plumbing under sinks;

                I.         inaccessible bathrooms due to improperly positioned grab bars;

                J.         inaccessible bathrooms due to inadequate turning space at urinals; and

                K.         inaccessible bathrooms due to excessive mirror height.


                                                        3
       Case 2:11-cv-03106-KDE-JCW Document 1 Filed 12/19/11 Page 4 of 5




       15.      Furthermore, DEFENDANT continues to discriminate against PLAINTIFF by

failing to make reasonable modifications in policies, practices or procedures, when such

modifications are necessary to provide PLAINTIFF an equal opportunity to participate in, or

benefit from, the goods, services, facilities, privileges, advantages, and accommodations which

DEFENDANT offers to the general public; and by failing to take such efforts that may be

necessary to ensure that no individual with a disability is excluded, denied services, segregated,

or otherwise treated differently than other individuals because of the absence of auxiliary aids

and services.

       16.      To date, all barriers to access and ADA violations still exist and have not been

remedied or altered in such a way as to effectuate compliance with the provisions of the ADA,

even though removal is readily achievable.

       17.      Removal of the discriminatory barriers to access located on the Property is readily

achievable, reasonably feasible, and easily accomplished, and would not place an undue burden

on DEFENDANT.

       18.      Removal of the barriers to access located on the Property would provide

PLAINTIFF an equal opportunity to participate in, or benefit from, the goods, services, and

accommodations which DEFENDANT offers to the general public.

       19.      Independent of his intent to return as a patron to the Property, PLAINTIFF

additionally intends to return as an ADA tester to determine whether the barriers to access stated

herein have been remedied.

       20.      PLAINTIFF has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. PLAINTIFF is entitled to have his reasonable attorneys’ fees,

costs, and expenses paid by DEFENDANT, pursuant to 42 U.S.C. § 12205.


                                                 4
       Case 2:11-cv-03106-KDE-JCW Document 1 Filed 12/19/11 Page 5 of 5




       WHEREFORE, PLAINTIFF demands judgment against DEFENDANT, and requests the

following injunctive and declaratory relief:

       A.      That this Court Declare that the Property owned, leased, leased to and/or operated

               by DEFENDANT is in violation of the ADA;

       B.      That this Court enter an Order directing DEFENDANT to alter the facility to

               make it accessible to and useable by individuals with disabilities to the full extent

               required by Title III of the ADA;

       C.      That this Court enter an Order directing DEFENDANT to evaluate and neutralize

               its policies, practices, and procedures towards persons with disabilities for a

               reasonable amount of time, allowing implementation and completion of corrective

               procedures;

       D.      That this Court award reasonable attorneys’ fees, costs (including expert fees),

               and other expenses of suit, to PLAINTIFF; and

       E.      That this Court award such other and further relief as it deems necessary, just and

               proper.


                                               Respectfully submitted,

                                               KU & MUSSMAN, P.A.


                                          By: /s/ M. Ryan Casey
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